Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 1 of 18 PageID: 7




       EXHIBIT A
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 2 of 18 PageID: 8
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 3 of 18 PageID: 9
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 4 of 18 PageID: 10
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 5 of 18 PageID: 11
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 6 of 18 PageID: 12
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 7 of 18 PageID: 13
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 8 of 18 PageID: 14
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 9 of 18 PageID: 15
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 10 of 18 PageID: 16
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 11 of 18 PageID: 17
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 12 of 18 PageID: 18
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 13 of 18 PageID: 19
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 14 of 18 PageID: 20
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 15 of 18 PageID: 21
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 16 of 18 PageID: 22
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 17 of 18 PageID: 23
Case 2:17-cv-03608-JLL-JAD Document 1-1 Filed 05/18/17 Page 18 of 18 PageID: 24
